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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Interactive Learning Systems Inc. dba
Interactive College of Technology,
and Elmer Smith,

 

Plaintiffs,
: CIVIL ACTION

Vv. : FILE NO.
Minerva Capital Management Inc., Minerva :
Inflection Strategies, LP., Stanford B.
Silverman, and Jon Coover,

Defendants.

COMPLAINT

COME NOW Interactive Learning Systems, Inc. dba Interactive College of
Technology (“ICT”), and Elmer Smith (“Smith”) (collectively referred to as
“Plaintiffs”), by and through undersigned counsel, and hereby make and file this
Complaint against Minerva Capital Management Inc. (“MCM”), Minerva Inflection

Strategies, LP (“MIS”), Stanford B. Silverman (“Silverman”), and Jon Coover

(“Coover”) (collectively referred to as “Defendants”), showing the Court as follows

in support hereof:
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PARTIES

1.
Plaintiff Elmer Smith is a Georgia resident.

2
Plaintiff Interactive Learning Systems, Inc. is a Georgia corporation in the education
field that operates under the registered trade name, Interactive College of
Technology.

3.
Plaintiffs Interactive Learning Systems, Inc. and Interactive College of Technology
are enterprises engaged in activities which affect interstate and foreign commerce.

4.
Plaintiff Elmer Smith is the Chief Executive Officer of Interactive Learning
Systems, Inc. d/b/a Interactive College of Technology.

5.
Defendant Stanford B. Silverman is a New York resident who resides at 100 West

57™ Street, Apt. 11Q, New York, NY 10019 in New York County and may be served

at said address.
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6.
Defendant Jon Coover is a South Dakota resident who resides at 300 Fairway Circle,

Brandon, SD 57005 in Minnehaha County and is an employee of Minerva Capital
Management at 100 West 57" Street, Suite 11, New York, NY 10019, and may be
served at said addresses.

qT
Defendant Minerva Capital Management Inc. is a New York corporation and may
receive service of process through the Secretary of State of New York.

8.
Based on Plaintiffs’ information and belief, Defendant Minerva Inflection
Strategies, LP. is a New York limited partnership and may receive service on its
CEO, Defendant Stanford Silverman.

9.
Defendant Stanford Silverman is the Chief Executive Officer of Minerva Capital

Management Inc. and Minerva Inflection Strategies LP.
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JURISDICTION AND VENUE

10.
Defendants are subject to the jurisdiction of this court pursuant to O.C.G.A § 9-10-
91, Georgia’s Long Arm Statute, because Defendants transacted business and have
committed tortious acts and omissions within the state.

11.
Venue is proper in this court pursuant to O.C.G.A. § 9-10-93 because a substantial
part of the business and tortious acts occurred in the Northern District of Georgia,
specifically in and around Dekalb County, Georgia.

12.
This Court’s jurisdiction and venue are proper pursuant to 18 U.S.C. § 1965 and 28
U.S.C. §1332 because the matter in controversy violates RICO statutes (18 U.S.C. §
1961 — 1968), exceeds the value of $75,000, and is between citizens and corporations

of Georgia, New York and South Dakota.!

 

128 U.S.C. § 1332 (2020)
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BACKGROUND FACTS

13,
From July 2018 to January 2020, Defendants engaged in a multistate scheme to
defraud, manipulate, pressure and ultimately gain control of Plaintiffs and Plaintiffs’
agents by integrating themselves under false pretenses into Plaintiffs’ operations,
thereby gaining valuable knowledge, skills, monies, and information from Plaintiffs
for use to acquire ICT, and other entities also engaged in interstate commerce, in
efforts to undermine Plaintiffs and Plaintiffs’ interests.

14.
Peachtree Credit Company LLC (“PCC”) is a Georgia limited liability corporation
and is an enterprise that engages in activities affecting interstate and foreign
commerce.

15.
On July 18, 2018, MCM and ICT signed a Non-Disclosure Agreement to protect and
keep confidential information that ICT would disclose to MCM about ICT and
related entities.

16.
During the period between August 6, 2018 and August 27, 2019, Defendants

proposed a series of seven (7) letters of intent to Plaintiffs for the purchase of ICT

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and related entities, two (2) of which were signed by Plaintiff Smith and Defendant
Silverman, dated September 10, 2018 and August 27, 2019.

Le
On December 22, 2018, a verbal agreement was reached for the purchase of ICT by
Defendants outlining the rationale, representation, and contingencies for the
purchase.

18.
In December 2018, Plaintiffs invited Defendants to the January 7, 2019 ICT Annual
Meeting.

19,
In late January 2019, Defendants’ agent, being Defendant Coover, moved to Georgia
in order to study and analyze Plaintiff's business operation at ICT’s headquarters in
Chamblee, Georgia. He also came to learn about ICT’s extensive English as a
Second Language (“ESL”) program, a program in which the Defendants had no prior
experience. Plaintiffs agreed to pay Defendants a monthly stipend of twenty-one
thousand dollars ($21,000) per invoices prepared and submitted by Defendant Jon

Coover. Subsequently, Defendants agreed to reimburse Plaintiffs for their payments

to Coover.
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20.
On each invoice for monthly stipend, Defendant Coover used email and other
electronic means affecting interstate commerce to expressly represent and confirm
the impression that he devoted at least forty hours per week to providing pre-
acquisition period management services to ICT.

21.
Silver Betty Inc. is a marketing company in New York City, New York, engaged in
activities in and affecting interstate commerce, purportedly specializing in private
education sector marketing, and is partly owned and operated by Silverman and his
immediate family.

22.
During Coover’s employment with ICT, Defendants insisted on and completed the
transfer of most of ICT’s marketing services to Silver Betty Inc., at a significantly
higher management fee of $14,400 per month, without providing any reconciliation
of the work, time, or monies expended on behalf of ICT, including spending $3,000
monthly on unauthorized international marketing activities and monthly

prepayments averaging approximately $20,000 to Silver Betty Inc. for payments

allegedly made on behalf of ICT.
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23.
Ziad K. Abdelnour is a New York resident who resides at 10825 72" Avenue, Apt
3L, Forest Hills, NY 11375 in Queens County and is the president, chief executive
officer and co-owner of BlackHawk Partners Inc., a New York-based unregistered
private equity “family office” located at 445 Park Ave, FL 9, New York, NY 10022.

24.
In June 2019, via teleconference from New York, Ziad Abdelnour assured Plaintiff
Smith that Defendants were viable entities fully capable of purchasing ICT and that
any necessary funding for Defendants’ purchase would be provided by Abdelnour
as an “investor,” if needed. Plaintiff Smith relied upon these assurances.

25.
On August 27, 2019, after a series of protracted negotiations lasting over a year,
Plaintiffs and Defendants executed a final Letter of Intent (“LOI”) between ICT,
PCC, and Minerva Inflection Strategies, LP.’

26.
Plaintiffs were told that Defendants contemplated the purchases of other proprietary

schools. These schools included, but were not limited to, Empire Beauty School in

 

? Exhibit A — Letter of Intent (August 27, 2019).
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Pennsylvania. Defendants told Plaintiffs that ICT would be combined with these
schools after Defendants had purchased ICT.

27.
At no time did Defendants reveal to Plaintiffs their real intent, which was to insinuate
and imbed themselves into Plaintiffs’ businesses so the Defendants could acquire
ICT on terms that were substantially different and superior for Defendants than the
terms of the LOI. Defendants would then use the revenue from ICT to fund their
other acquisitions.

28.
The LOI stated that MIS would purchase all ICT and PCC stock and interests from
Plaintiff Smith for $44 million. This reflected the intent and understanding of the
Plaintiffs as communicated by Defendants to Plaintiffs.

29.
The LOI stated that the said total purchase price of $44 million would be paid by
MIS as follows: $7 million would be paid upon execution of a “Definitive
Agreement”; thereafter, Defendants would pay Smith quarterly three equal payments
of $7 million; Defendants would then pay Smith $7.2 million on the first anniversary
of the Definitive Agreement when the closing would take place; and the balance of

$8.8 million would be paid to Smith over five (5) years after closing.

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30.
The LOI was prepared by Defendants and stated, “We anticipate signing a Definitive
Agreement on or before December 31, 2019.”
31.
Additionally, the LOI stated the following:
“fCoover] shall assume the position of Chief Executive Officer of ICT and of
PCC, on or before the signing of the definitive agreement and shall manage
and oversee the Companies in such capacity, subject to the oversight of the
Company’s Boards of Directors.
a. Compensation will be $25,000 monthly.
b. At closing MIS will reimburse Elmer Smith the remuneration
paid to Dr. Jon R. Coover during the 2019 calendar year.”
Bee
The LOI stated further that Smith would legally transfer control of ICT and PCC to
MIS upon Smith’s receipt of the $35.2 million set forth in the LOI along with normal
and necessary regulatory approvals and ancillary agreements at closing.
33.
Finally, for purposes relevant to this Complaint, the LOI provided that it would

terminate upon “the failure of the parties to reach agreement on the Definitive

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Agreement and ancillary documents by December 31, 2019,” unless terminated
sooner based on regulatory or other government action or upon a Definitive
Agreement having been reached; neither contingency which in fact occurred.

34.
On or about August 28, 2019, Coover misled ICT management to order a SunTrust
ICT Corporate credit card with a twenty thousand dollars ($20,000) credit limit
under the false pretense that the account had been authorized by Plaintiffs to be used
solely for expenses directly related to the business of ICT.

aos
In September 2019, Smith met with Defendant Silverman at which time Silverman
assured Smith that he would receive a draft Definitive Agreement in three weeks.

36.
In September 2019, Coover requested that the monthly payments he had been
receiving from ICT be changed from invoice payments to payroll in order for he and
his wife to qualify for ICT health insurance and benefits.

37.

On October 10, 2019, Smith requested an update from Silverman on the status of the
Definitive Agreement, and Silverman replied, “The definitive agreement is

progressing nicely and is in the hands of Minerva’s attorneys.”

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38.
On October 10, 2019, an untimely and improper communication which occurred
between Defendants and an associate executive director of an accrediting agency
resulted in Smith being unexpectedly asked by the associate executive director
whether Smith planned to apply for a change of ownership regarding the upcoming
sale of ICT to Defendants. The communication between Defendants and the third
party constituted a breach of the LOI, specifically, the Confidentiality Clause of
Section B under “Binding Terms” which continued the full force and effect of the
July 18, 2018 Non-Disclosure Agreement.

39.
On October 11, 2019, Silverman emailed Smith, to“. . . expect a preliminary
definite agreement to be completed for your review in November.”

40.
On November 15, 2019, Defendants presented Plaintiffs with an unpaginated and
incomplete template for a stock purchase agreement which Silverman had personally
edited (“Silverman Agreement”).

41.

The Silverman Agreement was an unprofessional document that departed without

explanation from the LOI in numerous material, significant, and relevant ways

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including, but not limited to: (1) changing the timing of the commencement of
payments of the quarterly installments to the closing date instead of on the execution
date of the Definitive Agreement; (2) MIS would pay Smith only $7.0 million dollars
prior to Smith’s transfer of ownership to MIS; (3) MIS was not obligated to obtain
financing but to only use its “reasonable best efforts” to secure financing; and (4)
ICT and PCC were obligated to “provide reasonable cooperation and assistance” to
help MIS obtain financing.

42.
Smith responded to the Silverman Agreement with a list of concerns dealing with
the material departures and other issues with the draft. Smith then followed up on
Defendants’ failure to respond to these concerns by emails on November 27, 2019
and December 9, 2019.

43,
On December 10, 2019, Defendants replied to Smith’s email to address some of
Plaintiffs’ questions and concerns but avoided explaining or reconciling any of the
material departures in the Silverman Agreement from the LOI.

44.

On December 31, 2019, the LOI expired.

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45,
On January 21, 2020, Smith discovered that Defendants had fraudulently engineered
multiple overpayments to Coover, that Coover had been provided a company credit
card, and that Coover had made well over thirty thousand dollars ($30,000) in
unauthorized charges with that credit card.

46.
On January 21, 2020, upon checking the payroll register, Smith discovered that
Coover had been receiving a direct deposit of twenty-five thousand dollars ($25,000)
semi-monthly, instead of monthly, effectively resulting in five (5) doubled salary
payments to Coover.

47,
Defendants had received and verified the payroll register each pay period yet did not
report any of the overpayments to Plaintiffs.

48.
On January 21, 2020, upon questioning Michael Power of ICT, Smith was informed
that, after Coover’s requested transfer to payroll had been implemented, Defendants

had continued submitting invoices for additional monthly payments of twenty-five

thousand dollars ($25,000) each of the previous three months.

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49.
Defendants intentionally submitted their fraudulent invoice for January 2020 in mid-
December, rather than at the end of month, in efforts to ensure its payment prior to
potential discovery.

50.
On January 21, 2020, Smith discovered Defendants had falsely represented to ICT
staff that Smith had authorized Defendants to receive a corporate credit card upon
which Defendants had been incurring charges since on or about September 20, 2019.

51.
On January 22, 2020, Plaintiffs informed Defendants of the improper salary
overpayments and unauthorized credit card charges and made demand by email for
immediate repayment.

52.
Defendants did not respond to Plaintiffs’ January 22, 2020 email.

53.
On January 29, 2020, Plaintiffs received a draft Equity Purchase Agreement and

Management Services Agreement prepared by Defendants’ attorneys in

Washington, D.C. and St. Louis, Missouri (“St. Louis Agreements”).

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54,
The terms of the St. Louis Agreements, like the Silverman Agreement, contained
unexplained and substantial material departures from the LOI. These departures
were even more egregious than the departures in the Silverman Agreement. They
included, but were not limited to: (1) the five quarterly installment payments,
totaling $35.2 million, were to be paid to an escrow account instead of to Smith
directly; (2) the $35.2 million would not be released to Smith until after the purchase
closed instead of at the execution of a Definitive Agreement; (3) Coover was to
immediately become CEO of ICT and PCC upon execution of a Definitive
Agreement; and (4) ICT was to pay MIS a monthly management fee of $583,333
beginning January 1, 2020.

55.
On January 31, 2020, Plaintiffs sent notice to Defendants terminating all
negotiations with Defendants for the following reasons: (1) Defendants unilaterally
deviated significantly and deliberately from the LOI; (2) Defendants misled the ICT
payroll department to overpay Coover in combined invoiced and salary payments;

and (3) Defendants charged Plaintiffs’ credit card for Defendants’ transactions that
were unrelated to Plaintiffs or Plaintiffs’ interests or to the negotiations between the

Parties.

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56.
On February 1, 2020, Defendants responded to Plaintiffs’ January 31, 2020
termination notice claiming, among other things, that the LOI was not legally
binding and Defendants were not obligated to reimburse Plaintiffs for any advances
made to Defendants because a Definitive Agreement was never finalized.

57.
On February 10, 2020, Plaintiffs sent a letter to Defendants scovialing documentation
of the amounts owed to Plaintiffs and offering to compromise Plaintiffs’ claim of
$443,648.88 for $400,000 if Plaintiffs received payment from Defendants by the end
of February 2020.

58.
By e-mail dated February 22, 2020, Defendant Silverman reiterated Defendants
refusal to reimburse Plaintiffs as Plaintiffs had requested but did agree to “return
overpayments” to Plaintiffs. To date, Defendants have returned no funds to

Plaintiffs, including the overpayments.

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COUNT I
QUANTUM MERUIT

59.
Plaintiffs incorporate by reference the allegations set forth in paragraphs | to 58
hereinabove.

60.
Under Georgia law, to state a claim for quantum meruit, a plaintiff must show: (1)
the performance of valuable services; (2) that were accepted by the recipient or at
his request; (3) that the failure to compensate the provider would be unjust; and (4)
that the provider expected compensation at the time services were rendered.?

61.
Plaintiffs provided valuable services, including but not limited to substantial salary,
training and benefits, to Defendants.

62.
Defendants requested, secured and accepted the services of Plaintiffs.

63.
Plaintiffs would be dealt an injustice if allowed to go uncompensated or reimbursed

for the months of training, benefits and resources provided to Defendants.

 

3 Amend v. 485 Props., 627 S.E.2d 565, 567 (Ga. 2006).

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64.

Plaintiffs fully expected reimbursement for all monies and services rendered to

Defendants during the periods contemplated in the LOI.

COUNT I
UNJUST ENRICHMENT (0.C.G.A. §9-2-7)

65.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 64
hereinabove.

66.
Ordinarily, when one renders service or transfers property which is valuable to
another, and which the latter accepts, a promise is implied to pay the reasonable
value thereof.* An unjust-enrichment claim arises when a plaintiff confers a benefit

on a defendant for which the plaintiff should be equitably compensated.°

 

40.C.G.A. § 9-2-7 (2019).
° City of Atlanta v. Hotels.com, 710 S.E.2d 766, 771 (Ga. 2011).

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67.
Plaintiffs conferred benefit on Defendants by providing valuable training to
Defendants in ESL and other proprietary industry areas, and Defendants obtained
valuable proprietary information from Plaintiffs.

68.
Defendants requested and accepted the benefit of months of high-level specialized
training from Plaintiffs.

69.
Plaintiffs would suffer injustice and harm if not compensated for the time, resources,
proprietary knowledge, and industry trade secrets Plaintiffs provided to Defendants
in paid training, creating competitive disadvantages and other equitable imbalances

to be exploited adversely to Plaintiffs’ interests.

COUNT Ii
MONEY HAD AND RECEIVED
70.

Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

to 69 hereinabove.

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71.
“An action for money had and received is appropriate where the plaintiff overpays
or deposits more than was necessary with another, who has no legal right to retain
the money.”

72.
Plaintiffs overpaid Coover in the amount of $137,500.00 through salary
overpayments and fraudulent invoices.

73.

Defendants have no legal right to retain the $137,500.00 in combined overpayments.

COUNT IV
MONEY HAD AND RECEIVED
74.

Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 73

hereinabove.

 

® Cochran v. Ogletree, 536 S.E.2d 194,197 (Ga. App. 2000)

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75.
“An action for money had and received is appropriate where the plaintiff overpays
or deposits more than was necessary with another, who has no legal right to retain
the money.””

76.
Plaintiffs overpaid Coover in the amount of $39,996.98 through unauthorized credit
card charges.

The
Defendants have no legal right to retain the $39,996.98 in unauthorized credit card
charges.

COUNT V

CIVIL ACTION (0.C€.G.A. §51-10-6) &
THEFT BY CONVERSION (0.C.G.A. §16-8-4)

78.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

to 77 hereinabove.

 

” Cochran v. Ogletree, 536 S.E.2d 194,197 (Ga. App. 2000)
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79.
A person violates O.C.G.A. §16-8-4, when having lawfully obtained funds of
another under an agreement or obligation to make a specified application of
such funds, he knowingly converts the funds to his own use in violation of the
agreement or legal obligation.®

80.
Coover obtained funds from Plaintiffs in the form of monthly
compensation pursuant to agreed terms.

81.
Coover knew the obtained funds were in excess of the agreed upon amount of
twenty-five thousand dollars ($25,000) intended for Defendants.

82.
Coover knowingly received five (5) salary overpayments of twelve thousand five
hundred dollars ($12,500), cumulatively totaling $62,500 of additional salary.

83.
Coover knew the overpayments should be returned to Plaintiffs, yet

Coover continued to collect, deposit and request additional unauthorized funds, and

 

® 0.C.G.A. 16-8-4 (2019).
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Defendants have failed and refused to return said monies to Plaintiffs after admitting

to receiving said monies inappropriately.

COUNT VI

CIVIL ACTION (0.C.G.A. §51-10-6) &
THEFT BY CONVERSION (0.C.G.A. §16-8-4)

84.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1
to 83 hereinabove.

85.
A person violates O.C.G.A. §16-8-4 when having lawfully obtained funds of another
under an agreement or obligation to make a specified application of such funds, he
knowingly converts the funds to his own use in violation of the agreement or legal
obligation.’

86.
Defendants obtained $39,996.98 in funds from Plaintiffs by way ofan expense

account linked to a SunTrust ICT Corporate credit card.

 

° 0.C.G.A. 16-8-4 (2019).

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87.
Defendants knew the obtained funds were intended to be used for Plaintiffs’
company purposes.

88.
Defendants knowingly and admittedly used Plaintiffs’ SunTrust ICT Corporate
credit card for non-company related purposes not authorized by Plaintiffs, and have

refused to reimburse Plaintiffs.

COUNT VII

CIVIL ACTION (0.C.G.A. §51-10-6) &
THEFT BY DECEPTION (0.C.G.A.§16-8-3)

89.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1
to 88 hereinabove.

90.
A person violates O.C.G.A. §16-8-3 when he obtains property by any deceitful
means with the intention of depriving the owner of the property. “Deceitful
means” includes: (1) intentionally creating or confirming another's impression of an

existing fact or past event which is known or believed to be false; (2) failing to

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correct a false impression of an existing fact or past event previously created or
confirmed; or (3) promises performance of services which he does not intend to
perform or knows will not be performed."®

91.
Coover obtained and deposited three (3) additional monthly stipends of twenty-five
thousand dollars ($25,000) by creating and submitting a series of false invoices to
Plaintiffs each month.

92.
Coover confirmed the knowingly false impression that he was owed an invoiced
amount each month and failed to correct the false impression that Coover was to
continue being paid via invoice after being switched to salaried payments.

93.
Defendants’ intention to deprive Plaintiffs of their property is evidenced
by Defendants’ failure to report the excess payments and refusal to reimburse

Plaintiffs after admitting to receiving Plaintiffs’ property inappropriately.

 

9 0.C.G.A. § 16-8-3 (2019).

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COUNT Vu

CIVIL ACTION (0.C.G.A. §51-10-6) &
THEFT BY DECEPTION (0.C.G.A. §16-8-3)

94.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1
to 93 hereinabove.

95.
A person violates O.C.G.A. §16-8-3 when he obtains property by any deceitful
means with the intention of depriving the owner of the property. “Deceitful means”
includes: (1) intentionally creating or confirming another's impression of an existing
fact or past event which is known or believed to be false; (2) failing to correct a false
impression of an existing fact or past event previously created or confirmed; or (3)
promises performance of services which he does not intend to perform or knows will
not be performed.'!

96.
Defendants obtained $39,996.98 through an expense account linked to

a SunTrust ICT Corporate credit card by intentionally creating or confirming the

 

11 0.C.G.A. § 16-8-3 (2019).

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impression to ICT management of a prior authorization which Defendants knew to
be false.

97.
Defendants’ intention to deprive Plaintiffs of their property is evidenced
by Defendants’ refusal to reimburse Plaintiffs after admitting to receiving Plaintiffs’

property inappropriately.

COUNT IX
FRAUDULENT MISREPRESENTATION (0.C.G.A. §23-2-52)

98.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1
to 97 hereinabove.

99.
Misrepresentation of a material fact, made willfully to deceive or recklessly without
knowledge and acted on by the opposite party or made innocently and mistakenly

and acted on by the opposite party, constitutes legal fraud.'*

 

2 0.C.G.A. § 23-2-52

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100.
On or about October 21, 2019, November 22, 2019, and December 16,
2019, Coover willfully misrepresented the material fact of Plaintiff's debt
to Defendants for monthly stipend in the amount twenty-five thousand dollars
($25,000) by submitting invoices for fraudulent debt owed by Plaintiffs.

101.
Plaintiffs’ agents, acting on the misrepresentations of Defendants, provided funds in
the amount of twenty-five thousand dollars ($25,000) for each invoice to pay the
fraudulent debt.

102.
Defendants used the fraudulent invoices to obtain three payments of twenty-five
thousand dollars ($25,000) from Plaintiffs, creating damages to Plaintiffs

cumulatively totaling seventy-five thousand dollars ($75,000).

COUNT X
FRAUDULENT MISREPRESENTATION (0.C.G.A. §23-2-52)

103.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

to 102 hereinabove.

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104.
“Misrepresentation of a material fact, made willfully to deceive or recklessly without
knowledge and acted on by the opposite party or made innocently and mistakenly
and acted on by the opposite party, constitutes legal fraud.”!°

105.
On or about August 28, 2019, Defendants willfully misrepresented the material fact
of Plaintiffs’ authorization for Coover to receive a SunTrust ICT Corporate credit
card with twenty thousand dollars ($20,000) revolving credit limit.

106.
Plaintiffs’ agents, acting on the misrepresentations of Defendants, provided an
unauthorized SunTrust ICT Corporate credit card to Coover.

107.
Defendants used the unauthorized SunTrust ICT Corporate credit card to incur
unauthorized charges cumulatively totaling $39,996.98, none of which were related

to ICT business.

 

93 O.C.G.A. § 23-2-52
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COUNT XI
BREACH OF CONTRACT (0.C.G.A. §13-4-20)

108.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 107
hereinabove.

109.
The elements for a breach of contract claim under Georgia law are: (1) the breach,
and (2) resultant damages (3) to the party who has the right to complain about the
contract being broken.'*

110.
Defendants breached the LOI by disclosing the subject matter of the contemplated
agreement being negotiated between Plaintiffs and Defendants to an outside person,
to wit, a director of an accrediting institution.

111.
Plaintiffs were damaged by the breach due to disclosure of confidential information
and increased regulatory scrutiny resulting directly from Defendants’ breach.

112.

Plaintiffs are the parties injured by Defendants’ breach.

 

** Bates v. JPMorgan Chase Bank, 768 F.3d 1126 (11th Cir. 2014).
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COUNT XI
BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

113.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 112
hereinabove.

114.
In New York, the covenant of good faith and fair dealing embraces a pledge that
neither party shall do anything which will have the effect of destroying or injuring
the right of the other party to receive the fruits of the contract and is implied in every
contract governed under New York law. Accordingly, a breach of the implied duty
of good faith is considered a breach of the underlying contract.'°

115.
Defendants breached the covenant of good faith and fair dealing as applied to the
August 27, 2019 Letter of Intent which, pursuant to its governing law provision as
drafted by Defendants, is governed by and construed in accordance with the laws of

the state of New York.

 

** Boart Longyear Ltd. v. Alliance Indus, Inc., 869 F Supp.2d 407 (S.D. N.Y. 2012).
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116.
Defendants acted so as to injure the right of Plaintiffs to receive the fruits of the
contract manifest in the August 27, 2019 LOI. Defendants used the silence of the
termination provisions in subsections a. and c. of Section E. to deny Plaintiff's
reimbursement so as to unduly pressure Plaintiffs to agree to contract terms
detrimental to Plaintiffs and as to which Plaintiffs either had previously rejected, to
which they had never consented, or the terms of which had not previously been

related to them.

COUNT XIII
CIVIL REMEDIES FOR RICO VIOLATIONS (18 U.S.C. §1964)
117.
Plaintiffs incorporate by reference the allegations set forth in paragraphs | to 116
hereinabove.
118.

The elements of a prima facie civil RICO claim under 18 U.S.C. §1964(c) are: (1)

the defendant committed a pattern of RICO predicate acts under 18 U.S.C. §1962;

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(2) the plaintiff suffered injury to business or property; and (3) the defendant's
racketeering activity proximately caused the injury.!°

119.
The elements constituting a pattern of racketeering activity are: (1) the defendants
committed two or more predicate acts within a ten-year time span; (2) the predicate
acts were related to one another; and (3) the predicate acts demonstrated criminal
conduct of a continuing nature.'”

120.
District Courts have jurisdiction to prevent and restrain violations of 18 U.S.C. §
1962 by issuing appropriate orders prohibiting any person from engaging in similar
endeavors, and any person injured in his business or property by reason of a violation
of 18 U.S.C. §1962 may sue in District Court and shall recover threefold the damages
he sustains and the cost of the suit, including a reasonable attorney's fee.!®

ii.
It is a violation of 18 U.S.C. §1962 for any person conspiring with, engaging in, or

receiving income from a pattern of racketeering activity, expressly those involving

 

16 Simpson v. Sanderson Farms, Inc., 744 F.3d 702, 705 (11th Cir.2014)
17 Murphy v. Farmer, 176 F.Supp.3d 1325, 1343 (N.D. Ga. 2016)
18 18 U.S.C. § 1964(a)-(c) (2020).

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wire fraud pursuant to 18 U.S.C. §1343, to acquire or maintain therefrom any interest

in any enterprise which is engaged in interstate or foreign commerce.!”

122.
It is a violation of 18 U.S.C. §1343 when any person intending to devise any scheme
to defraud, or obtain money by fraudulent pretenses, representations, or promises,
transmits or causes to be transmitted, by means of wire communication in interstate
or foreign commerce, any writings or sounds for the purpose of executing such
scheme.”?

123.
Defendants herein collectively are an enterprise engaged in and whose activities
affect interstate commerce.

124.
Defendants agreed to and did conduct and participate in the conduct of the
enterprise’s affairs through a pattern of racketeering activity and for the unlawful
purpose of intentionally defrauding Plaintiffs; specifically:

a. From January 2019 to January 2020, Defendant Coover used emails to

further Defendants’ scheme by falsely representing via invoice that he

 

19 18 U.S.C. § 1962(a)-(b),(d) (2020).
20 18 U.S.C. § 1343 (2020).

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devoted at least forty hours per week to providing pre-acquisition
period management services to ICT.

In June 2019, Defendants used a teleconference to further their scheme
by assuring Plaintiffs of Defendants’ financial soundness and
professional viability, yet provided no subsequent commitment or
evidence thereof or at any time thereafter;

On or about August 28, 2019, Defendants used emails to further their
scheme by seeking an unauthorized SunTrust ICT corporate credit card
from which to fund activities to acquire Empire Beauty School and
other activities not related to ICT;

On October 10, 2019, Defendants used emails to further their scheme
by falsely assuring Plaintiffs that professional progress was being made
toward a Definitive Agreement;

On October 11, 2019, Defendants used email to further their scheme by
falsely assuring Plaintiffs that a professionally drafted document would
be delivered to Plaintiffs by mid-November; and

In October and December 2019, Defendants used email to submit

fraudulent invoices to obtain unauthorized payments from Plaintiffs.

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125.
Pursuant to and in furtherance of their fraudulent scheme, Defendants committed
multiple related acts of Wire Fraud violating 18 USC §1343.

126.
The emails sent on August 28, 2019, October 10, 2019, and October 11, 2019 and
the invoices submitted in October and December of 2019 by Defendants constitute
a pattern a racketeering activity pursuant to 18 U.S.C. §1961.

127.
Defendants conspired to use the income from 18 USC §1343 violations to acquire
interests and maintain control of interstate companies or entities including, but not
limited to, Empire Beauty School located in the Commonwealth of Pennsylvania.

128.
Defendants conspired in a scheme, spanning years and transmitted via wire
communication in interstate commerce, to defraud Plaintiffs of monies, proprietary
information, and other good and valuable consideration under false pretenses,

representations and promises.

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129.
Defendants have directly and indirectly conducted and participated in the conduct of
the enterprise’s affairs through a pattern of racketeering activity described above, in
violation of 18. U.S.C. §1962(c).

130.
As a direct and proximate result of the Defendants’ racketeering activities and
violations of 18 U.S.C. §1962(c), Plaintiffs have been injured in their business and
property through the loss of $405,500.00 in authorized”! and unauthorized payments

and of $39,996.98 in unauthorized credit card charges.

COUNT XIV

CIVIL REMEDIES FOR RICO VIOLATIONS (0.C.G.A. §16-14-4)
131.

Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 130

hereinabove.

 

21 Plaintiffs’ use the term “authorized” only insofar as Plaintiffs held a good faith belief that Plaintiffs were
receiving the benefit of at least forty hours per week of Coover’s management services on ICT matters.

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Lz.
The purpose of the Georgia RICO Act is to provide compensation to private persons
injured by reason of any RICO violation with a stated goal of compensating victims
and providing incentive for private attorneys general to initiate actions against those
in violation of the Act.”

133.
Under the Georgia RICO Act, it is unlawful for anyone to acquire an interest in or
control of money or property through a pattern of racketeering activity, and any
person injured, by a preponderance of the evidence, has a cause of action for three
times the actual damages, punitive damages, attorneys’ fees, and the costs of
investigation and litigation reasonably incurred.”

134.
In Georgia, racketeering activity occurs when a defendant twice commits, attempts,
coerces or conspires to commit predicate offenses outlined in O.C.G.A. §16-4-3,
including Theft by Deception (O.C.G.A. §16-8-3), Theft by Conversion (O.C.G.A.
§16-8-4), or any offense defined under the Federal RICO statutes, in furtherance of

one or more interrelated schemes or transactions."

 

22 Williams General Corp. v. Stone, 279 Ga. 428, 429-430 (Ga. 2005)
230.C.G.A. § 16-14-6(a)-(c).

*4 Maddox v. Southern Eng'g Co., 216 Ga. App. 6, 7 (1994); Massey, Inc. v. Moe's Sw. Grill, LLC (N.D. Ga. 2015).
= 39.
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135.
Violation of the Georgia RICO statute does not require that there be proof of an
enterprise, but only that the accused acquired money through a pattern of
racketeering activity or proceeds derived therefrom.”°

136.
A corporation can be found liable, under Georgia's RICO statute, for acts of
employees and agents acting within their scope of employment and on behalf of the
corporation.”°

137.
Defendants committed the predicate offenses of Theft by Deception, Theft by
Conversion, and Wire Fraud, on the dates and locations noted hereinabove, with
each offense directly harming Plaintiffs.

138.
Defendants engaged in a scheme of racketeering activities, including Theft by

Deception, Theft by Conversion, and Wire Fraud, to acquire interest in and money

from Plaintiffs.

 

25 Cobb Cnty. v. Jones Grp. P.L.C., 218 Ga. App. 149, 152-53 (1995)
26 Id.

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139.
As a direct and proximate result of the Defendants’ racketeering activities and
violations of O.C.G.A. §16-14-4, Plaintiffs have been injured in their business and
property through the loss of $405,500.00 of authorized and unauthorized salary

payments and $39,996.98 of unauthorized credit card charges.

COUNT XV
PUNITIVE DAMAGES (0.C.G.A. §51-12-5.1)

140.
Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 139
hereinabove.

141.
Punitive damages may be awarded only in such tort actions in which it is proven by
clear and convincing evidence that a defendant's actions showed willful misconduct,
malice, fraud, wantonness, oppression, or that entire want of care which would raise

the presumption of conscious indifference to consequences.”’

 

27 0.C.G.A. § 51-12-5.1 (2019).

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142.
Defendants have committed fraud by misrepresenting Plaintiffs’ authorization for a
corporate credit card then using the credit to purchase unauthorized items.

143.
Defendants have committed fraud by submitting false invoices to Plaintiffs agents
to obtain and retain additional stipend payments.

144.
Defendants have committed fraud by engaging in a scheme to obtain monies,
proprietary information, and other good and valuable consideration under false
pretenses and without rending in return those things to Plaintiffs contemplated by
and reasonably anticipated to constitute the benefits and compensation resulting

from the dealings with Defendants.

COUNT XVI
RECOVERY OF EXPENSES OF LITIGATION (0.C.G.A. §13-6-11)
145.

Plaintiffs incorporate by reference the allegations set forth in paragraphs 1 to 144

hereinabove.

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146.
The expenses of litigation generally shall not be allowed as a part of the damages,
but where the plaintiff has specially pleaded and has made prayer therefor and where
the defendant has acted in bad faith, has been stubbornly litigious, or has caused the
plaintiff unnecessary trouble and expense, the jury may allow them.”

147.
Defendants have acted in bad faith by intentionally delivering materially deficient
Definitive Agreements to Plaintiffs and refusing to reimburse Plaintiffs for
fraudulent charges unless Plaintiffs agreed to be bound by the terms placed by

Defendants into said agreements.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that process issue and be served upon
Defendants, and that Judgment be found for the Plaintiffs as follows:

1. On Count I, Plaintiffs to be awarded all compensatory, punitive, and any other
damages deemed just and proper by this Court.

2. On Count II, Plaintiffs to be awarded all compensatory, punitive, and any

other damages deemed just and proper by this Court.

 

8 O.C.G.A. § 13-6-11 (2019).

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3. On Count III, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

4. On Count IV, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

5. On Count V, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

6. On Count VI, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

7. On Count VII, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

8. On Count VIII, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

9. On Count IX, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

10.On Count X, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

11. On Count XI, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

12. On Count XII, Plaintiffs to be awarded all compensatory, punitive, and any
other damages deemed just and proper by this Court.

13. On Count XIII, Defendants ordered to cease all commercial endeavors in the
education field and Plaintiffs to be awarded treble compensatory damages and

any other damages deemed just and proper by this Court.

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14, On Count XIV, Defendants ordered to cease all commercial endeavors in the
education field and Plaintiffs to be awarded treble compensatory damages and
any other damages deemed just and proper by this Court.

15. On Count XV, Plaintiffs to be awarded all punitive damages deemed just and
proper by this Court.

16. On Count XVI, Plaintiffs to be awarded reimbursement of all attorneys’ fees

and all other costs of litigation against Defendants.

  
  

Bob Karr ~ ~— Brannon Burroughs
' Georg a Bar No. 039475 a Georgia Bar No. 571927
Attorney for Plaintiffs Attorney for Plaintiffs

aw Offices of Bob Barr
2120 Powers Ferry Road
Suite 125

Atlanta, GA 30339
(770) 836-1776

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VERIFICATION
I, Elmer Smith, have read and understand the foregoing Complaint, Interactive
Learning Systems, Inc. dba Interactive College of Technology and Elmer Smith v.
Minerva Capital Management Inc., Minerva Inflection Strategies, LP.. Stanford B.
Silverman, and Jon Coover, and I hereby verify that any factual statements asserted

in this Complaint are true and correct to the best of my knowledge and belief.

 

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->/ Aaa p re!
Elrher Smith
Plaintiff

Sworn to and subscribed before me this Jot FA day of August 2020.

 

 

 

 

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Notary Public
ouvéy, KAREN A MILLER
2 2st % Notary Public, Georgia
S's ats Dekalb County
% Getter s My Commission Expires
“EES Apri! 10,2022

 

 

   
 

My Commission Expires:

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EXHIBIT A
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MINERVA
Inflection Strategies, LP.

August 27, 2019

Mr. Elmer Smith
5303 New Peachtree Road Chamblee
Atlanta, Georgia 30341

Re: Letter of Intent — Interactive Learning Systems. Inc., dba Interactive College
of Technology (“ICT”), and Peachtree Credit Company (“PCC” and
together with ICT, the “Companies”)

Dear Elmer,

As we discussed, below you will find the proposed terms of Minerva Inflection Strategies, LP
(dba Minerva Capital Management, “MIS”) to purchase all of the issued and outstanding shares
of ICT and PCC (“Letter of Intent”) from you (“Seller”).

The non-binding terms of this Letter of Intent are as follows:

L Purchase Price. MIS will purchase 100% of the stock of the Companies from
Seller at a valuation of $44.0 million (the “Purchase Price”), which represents a
multiple of 6.875 x 2018 forecasted combined EBITDA of $6.4 million, as adjusted
pursuant to the terms and conditions of this Letter of Intent. The Purchase Price
assumes the Companies are delivered ona cash-free, debt-free basis, and with adequate
net working capital to supportthe ongoing operations ofthe business. For purposes of
this purchase, ICT is valued at $43,125.000 and PCC is valued at $875.000.

a. Net working capital will be adequate if the income statement for the Companies for
the period that is ninety days after closing has cumulative revenue that exceeds
cumulative expenses, exclusive of extraordinary expenses, preaid expenses, and
expenses related to, or incurred in connection with, the purchase of the Companies. In
the event that such cumulative expenses exceed cumulative revenue, the Companies
shall pay MIS the difference. Any working capital true-up payment owed to MIS shall
be due not later than ten days after the partics complete the post-closing working
capital adjustment calculation, and may be set-off against the final installment payment
of $8.8 million owed from MIS to Seller (described below). In addition, MIS shall
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provide Seller with a one-time credit of the monies paid as compensation to Dr. Coover
during the pre-acquisition period which shall be also be factored into the post-closing
working capital truc-up.

b. Installment payments of the Purchase Price shall be made quarterly to Seller, as the
sole owner of all of the shares of ICT and PCC, starting with $7 million (such initial
payment, the “Earnest Deposit”) to be paid upon the execution of a definitive
agreement (“Definitive Agreement’). Thereafter, payments will be made as follows:

e $7 million 90 days after the execution date:

¢ $7 million 180 days after the execution date;

e $7 million 270 days after the execution date; and

e $7.2 million on the first anniversary of the exccution date.

‘The remaiming $8.8 million will be paid principal and interest at market prime interest
rates, adjusted annually over a period of S years following the closing date. We
anticipate signing a Definitive Agreement on or before December 31, 2019.

2. Timing.

The execution of the Definitive Agreement and the payment of the Earnest Deposit shall occur
upon the satisfaction of any and all audits conducted by an educational regulatory agency
relating to ICT/PCC, including without limitation the current open matter pertaining to the
recent visit to Texas by the Council of Occupational Education, are completed and resolved to
the satisfaction of the parties.

In the Definitive Agreement, Seller shall provide customary representations and warranties
relating to the Companies in a stock sale transaction, including without limitation, relating to
(i) the resolution and completion of the pending audits and matters set forth in Section 2(a)(1)-
(2) above, and (ii) liabilities arising pre-closing. The Definitive Agrcement shall also contain
other standard representations, warranties, covenants and agreements that are customary for
this type of transaction.

b. On or before the execution of the Definitive Agreement:

1. Dr. Jon R. Coover shall assume the position of Chief Executive Officers of cach
of ICT and PCC, on or before the signing of the definitive agreement and shall
manage and oversee the Companies in such capacity, subject to the oversight of
the Company’s Boards of Directors.

a. Compensation will be $25,000 monthly.

b. At closing MIS will reimburse Elmer Smith the remuncration paid to Dr. Jon
R. Coover during the 2019 calendar year.

c. In addition, ICT will pay invoices for Silver Betty, Inc. for $28,900 for May
2019 and June 2019.
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to

Seller shal] continue to serve on the Companies’ boards of directors with the right
to name a majority of the board of directors, until $35.2 million has been paid and
the transaction has closed by MIS to Seller on the first anniversary of the execution
date, at which time, board control will transition to MIS, to be more fully
described in the Definitive Agreement.

é The closing of the transaction shail occur promptly upon:

1. the receipt by Seller of $35.2 million from MIS;

the receipt of all regulatory consents and approvals from the applicable
regulators and accreditors. including without limitation, U.S. Department of
Education, Council on Occupational Education and states of Georgia, Texas
and Kentucky, and any other governmental authorities that regulate the
Companies; and

execution and delivery of ancillary agreements, including Seller’s employment
agreement, and other customary closing deliverables.

to

Le)

Upon the closing of the transaction, the stock purchase would become effective and the
ownership of the Companies would legally transfer from Seller to MIS.

3

Seller’s Post-Closing Employment. Seller will provide transition services to the
Companies for a minimum of six months post-closing, with an additional six-month
extension, as necessary for the operation of the business. Seller would consult in the areas
of school operations and introduction to political and regulatory contacts as appropriate.
Remuneration for Seller will be based upon his current salary calculated on a per diem
basis. MIS will continue Seller’s health insurance, automotive leases and country club
expenses as they relate to the operations of ICT and PCC during the term of Seller’s
employment. Seller also agrecs not to compete against the Companies for a period of 4
years post-closing within a 100 mile radius of any location of the Companies.

Due Diligence. MIS has completed due diligence to its satisfaction, but reserves the right
to request any additional information that it deems relevant to the transaction.

Continued Employment of ICT Senior Managers. MIS will retain the ICT executive
management teams as this is essential to maintaining the energy and morale necessary for
ICT and PCC’s continued success and a smooth transition. The executive management of
ICT will continue to perform in accordance with their present positions including

additional responsibilities that may be communicated in accordance with MIS’s strategic
growth imperatives.

Lease of Real Estate. MIS has reviewed the ICT lease agreements and will continue with
the real estate agreements currently in place, subject to landlord approval or consents.
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7. Operations Prior te Closing. From the date of the execution of this Letter of Intent
through the closing date, the Seller and the Companies’ management will continuc to
operate the Company in the ordinary course of business and consistent with past practices,
subject to such other covenants as may he included in the Definitive Agreement, and will
consult in good faith with MIS concerning any material transactions or deviations from
such ordinary course. Working capital, including inventory and accounts receivable, will
be managed in a similar manner.

 

Binding Terms:

A. Exclusivity. In consideration of the expenses that MIS has incurred and will incur in
connection with the proposed transaction, Scller agrees that until October 30, 2019 (such
period, the “Exclusivity Period”), neither PCC nor ICT. nor any of its representatives,
officers, employees, directors, agents, stockholders, subsidiaries or affiliates nor Seller
(collectively, the “Seller Group”) shall! initiate, solicit, entertain, negotiate, accept or
discuss. directly or indirectly, any proposal or offer from any person or group of persons
other than MIS and its affiliates (an “Acquisition Proposal”) to acquire all or any
significant part of the business and properties, capital stock or capital stock equivalents of
ICT and PCC, whether by merger. purchase of stock, purchase of assets, tender offer or
otherwise. or provide any non-public information to any third party in connection with an
Acquisition Proposal or enter into any agreement, arrangement or understanding requiring
it to abandon, terminate or fail to consummate the Transaction with MIS. Seller agrees to
immediately notify MIS if any member of the Seller Group receives any indications of
interest, requests for information or offers in respect of an Acquisition Proposal.
Immediately upon execution of this Letter of Intent, Scller shall, and shall cause the Seller
Group to, terminate any and all existing discussions or negotiations with any person or
group of persons other than MIS and its affiliates regarding an Acquisition Proposal. Seller
represents that no member of the Seller Group is party to or bound by any agreement with
respect to an Acquisition Proposal other than under this Letter of Intent.

B. Confidentiality. This Letter of Intent is confidential to the parties hereto and their
representatives and is subject to the confidentiality agreement entered into between MIS,
PCC and ICT on July 18, 2018, which continues in full force and effect.

C. Governing Law. THIS TERM SHEET SHALL BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH INTERNAL LAWS OF THE STATE OF
NEW YORK, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF
LAW PROVISION OR RULE (WHETHER OF THE STATE OF NEW YORK OR ANY
OTHER JURISDICTION) THAT WOULD CAUSE THE APPLICATION OF LAWS OF
ANY JURISDICTION OTHER THAN THOSE OF THE STATE OF NEW YORK.

D. Expenses. The parties will each pay their own transaction expenses, including the fees
and expenses of investment bankers and other advisors, incurred in connection with the
proposed transaction.
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E. Termination of Letter of Intent. This Letter of Intent shall terminate on the first to occur
of

a. either party's written notice to terminate based on the receipt of a negative response
from any governmental authority or regulatory body provided however, that no
such inquiries shall be made absent advance approval by Seller:

b. the execution of a Definitive Agreement and ancillary documents;

c. the failure of the parties to reach agreement on the Definitive Agreement and
ancillary documents by December 31, 2019;

The binding provisions of this Letter of Intent shall survive any terminate of this Letter of
Intent.

F. Miscellaneous. This Letter of Intent may be executed in counterparts, each of which shal]
be deemed to be an original, but all of which together shall constitute one agreement. The
headings of the various sections of this Letter of Intent have been inserted for reference
only and shall not be deemed to be
a part of this Letter of Intent.

[signature page follows]
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Ifthe foregoing is acceptable, please sign a copy of this in the space provided below
and return the copy to the undersigned by August 30, 2019.

Very truly yours,

Minerva Inflection Strategies (MIS), LP

(dba Minerva Capital Management)
hidedd dbanaltear "

By: Stanfard B. Silverman
CEO

 

Confirmed and Agreed To:

interactive Learning Systems, Inc, dba the Interactive College of Technology

SG... Ket,
By: Elmer R. Smith P/37/19

CEO

Peachtree Credit Company

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By: Elmer R. Smith ad .

CEO

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Minerva Inflection Strategies 100 WEST 57TH STREET-SUITE 11 NEW YORK. NY. 10019-
212-582-949 |
